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Attorney for defendants,
The Atlantic Amateur Hockey Association,
Atlantic District Player Development Program,
John Riley and Colleen Marinari

                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY
D.M., a minor, individual by and through        )
his parent, D”ANN MCCOY,                        )
853 North Moss Street                           )
Philadelphia, PA 19139,                         )
                                                )
                           Plaintiff,           ) Civil Action No.: 2:17-CV-10671-SDW-SCM
vs.                                             )
                                                )
                                                )
THE ATLANTIC AMATEUR HOCKEY                     )
ASSOCIATION                                     )
251 E. Glen Ave.                                )       ANSWER TO COMPLAINT
Ridgewood, NJ 07450                             )
                                                )
and                                             )
                                                )
ATLANTIC DISTRICT PLAYER                        )
DEVELOPMENT PROGRAM                             )
251 E. Glen Ave.                                )
Ridgewood, NJ 07450                             )
                                                )
and                                             )
                                                )
USA HOCKEY, INC.                                )
1775 Bob Johnson Dr.                            )
Colorado Springs, CO 80906-4090                 )
                                                )
and                                             )
                                                )
JOHN RILEY                                      )
601 Laurel Oak Road                             )
Voorhees, NJ 08043                              )
                                                )
and                                             )
                                                )
COLLEEN MARINARI                                )
1623 Hilltop Road                               )
Spring City, PA 19475                           )
                                                )
and                                             )
                                                )
JOHN DOES 1-10                                  )
                           Defendants.          )
                                                )
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       The defendants, The Atlantic Amateur Hockey Association, Atlantic District Player

Development Program, John Riley and Colleen Marinari, by way of Answer to plaintiff’s

Complaint, say:

                                      INTRODUCTION

   1. The defendants deny the allegations contained in paragraph 1 of the Introduction.

   2. The defendants deny the allegations contained in paragraph 2 of the Introduction.

   3. The defendants deny the allegations contained in paragraph 3 of the Introduction.

                                  JURISDICTION AND VENUE

   4. The defendants deny the allegations contained in paragraph 4 of Jurisdiction and Venue.

   5. The defendants have no knowledge as to paragraph 5 of Jurisdiction and Venue and leave

       plaintiff to its proofs.

                                          PARTIES

   6. The defendants have no knowledge of the allegations contained in paragraph 6 of Parties.

   7. The defendants admit the allegations contained in paragraph 7 of Parties.

   8. The defendants admit the allegations contained in paragraph 8 of Parties.

   9. The defendants admit the allegations contained in paragraph 9 of Parties.

   10. Paragraph 10 of Parties does not pertain to these defendants; and, accordingly, no answer

       is provided.

   11. The defendants deny the allegations contained in paragraph 11 of Parties. The Atlantic

       Player Development Program is not a division but a program run by the Atlantic Amateur

       Hockey Association.

   12. Admit that John Riley is a Caucasian male and an adult citizen of the United States who

       was Director of Player Development in and around 2015 through 2016.
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   13. The defendants admit that Collen Marinari is a Caucasian female and an adult citizen of

      the United States. However deny that Ms. Marinari was the Executive Director of the

      Atlantic District Player Development Program, as her position was Executive Director of

      the Atlantic Amateur Hockey Association.

   14. Paragraph 14 of Parties does not pertain to these defendants; and, accordingly, no answer

      is provided.

                                 STATEMENT OF FACTS

   15. The defendants admit the allegations contained in paragraph 15 of Statement of Facts.

   16. The defendants admit most of the allegations contain in paragraph 16 of Statement of

      Facts. However, the program offers evaluation, exposure and training for players ages 12

      through 17. The three Peewee teams were the Flyers, Devils and Phantoms, not USA

      Peewee teams.

   17. The defendants admit the allegations contained in paragraph 17 of Statement of Facts.

   18. The defendants admit there were three Peewee teams, the Flyers, Devils and Phantoms,

      but they do not represent Team USA.

   19. The defendants admit the allegations contained in paragraph 19 of Statement of Facts.

   20. As to paragraph 20 of Statement of Facts, the defendants admit e-mails were sent

      regarding the selection process, however, over the years, some players who do not try out

      have been selected as a result of circumstances concerning injuries, travel or other issues.

   21. The defendants admit the allegations contained in paragraph 21 of Statement of Facts.

   22. As to paragraph 22 of Statement of Facts, the defendants admit in part and deny in part.

      Defendants admit that the plaintiff tried out for goalie, however, only six goalies were to

      be selected for the three Quebec teams.
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   23. The defendants admit the allegations contained in paragraph 23 of Statement of Facts.

   24. The defendants deny the allegations contained in paragraph 24 of Statement of Facts as

      24 goalies tried out.

   25. The defendants admit the allegations contained in paragraph 25 of Statement of Facts.

   26. The defendants deny the language quoted is verbatim, however admit the general

      sentiment expressed.

   27. The defendants admit the allegations contained in paragraph 27 of Statement of Facts.

   28. The defendants deny the allegations contained in paragraph 28 of Statement of Facts.

   29. The defendants deny the allegations contained in paragraph 29 of Statement of Facts.

      During the July/August camp, four teams of 20 members, each with two goalies, were

      established for the purposes of selecting the three teams of 18 players, which included

      two goalies that would compete in Quebec.

   30. The defendants deny the allegations contained in paragraph 30 of Statement of Facts.

   31. As to paragraph 31 of Statement of Facts, the defendants cannot admit or deny as to

      whether one goalie was injured or whether that goalie was sick and was unable to

      participate. However, there would be three teams of 18 members with two goalies to be

      selected for Quebec.

   32. The defendants deny the allegations contained in paragraph 32 of Statement of Facts.

   33. As to paragraph 33 of Statement of Facts, the defendants admit in part, deny in part. It is

      admitted that the Plaintiff was not selected for any of the Quebec teams and placed on the

      alternate list. It is denied that the Plaintiff was on the winning team as such statistics

      were not kept.

   34. The defendants deny the allegations contained in paragraph 34 of Statement of Facts.
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   35. As to paragraph 35 of Statement of Facts, the defendants admit that the rule states that the

      players must attend the development camp to be eligible for the Quebec team, however,

      over the years, exceptions have been made based upon varying circumstances.

   36. As to paragraph 36 of Statement of Facts, the defendants admit that one of the goalies did

      not attend the development camp; however, deny the player played for the defendant

      Riley as defendant Riley did not coach in another league in 2015/2016.

   37. The defendants deny the allegations contained in paragraph 37 of Statement of Facts as

      the Plaintiff’s email made inquiry as to why the alternates, who did not make the Quebec

      teams, were unable to practice with their team just prior to the tournament and to travel to

      Quebec.

   38. The defendants deny the allegations contained in paragraph 38 of Statement of Facts as

      the response refers to the alternates being unable to practice with the Quebec teams and

      further “Exhibit A” speaks for itself.

   39. The defendants deny the allegations contained in paragraph 39 of Statement of Facts as

      the Exhibit speaks for itself.

   40. The defendants admit the allegations contained in paragraph 40 of Statement of Facts.

   41. As to paragraph 41 of Statement of Facts, defendants admit that the Plaintiff was advised

      that as an alternate, he could practice with the team. It is denied that the Plaintiff was

      advised he could travel with the team to games as the three Quebec teams did not play

      other teams prior to the tournament.

   42. The defendants deny the allegations contained in paragraph 42 of Statement of Facts.

   43. The defendants deny the allegations contained in paragraph 43 of Statement of Facts.
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   44. The defendants have no knowledge as to paragraph 44 of Statement of Facts and leaves

      plaintiff to its proofs.

   45. The defendants deny the allegations contained in paragraph 45 of Statement of Facts.

   46. The defendants deny the allegations contained in paragraph 46 of Statement of Facts.

   47. The defendants deny the allegations contained in paragraph 47 of Statement of Facts

      further the three Quebec teams were selected in August of 2015.

   48. The defendants deny the allegations contained in paragraph 48 of Statement of Facts.

   49. The defendants deny the allegations contained in paragraph 49 of Statement of Facts.

   50. The defendants have no knowledge as to paragraph 50 of Statement of Facts and leaves

      Plaintiff to its proofs.

   51. As to paragraph 51 of Statement of Facts, the defendants cannot admit nor deny the

      allegation as John Riley was not the coach of Team Comcast.

   52. The defendants admit the allegations contained in paragraph 52 of Statement of Facts.

   53. As to paragraph 53 of Statement of Facts, the defendants admit that the Plaintiff reached

      out to Colleen Marinari, however, the remainder of the allegation is denied as the

      Plaintiff made the development camp but not the team, as a result the Plaintiff would be

      required to try out.

   54. The defendants deny the allegations contained in paragraph 54 of Statement of Facts.

      Further Colleen Marinari advised that the email sent was supposed to have only gone to

      players that made the team advising them that they did not need to try out. Since the

      Plaintiff only made, the camp and not the team, he would be required to try out. So the

      Plaintiff’s were advised they could ignore that email.

   55. The defendants admit the allegations contained in paragraph 55 of Statement of Facts.
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   56. The defendants deny the allegations contained in paragraph 56 of Statement of Facts.

   57. The defendants deny the allegations contained in paragraph 57 of Statement of Facts.

   58. The defendants deny the allegations contained in paragraph 58 of Statement of Facts.

   59. As to paragraph 59 of Statement of Facts, the defendants admit that the plaintiff did not

      participate in the 2016 development camp, however, the remaining portion of the

      allegation is denied as there is an open invitation to players in the region to try out for the

      development program.

   60. The defendants deny the allegations contained in paragraph 60 of Statement of Facts.

          COUNT I – TITLE VI VIOLATIONS – RACE DISCRIMMINATION

   61. The defendant repeats the answers to the allegations contained in the previous paragraphs

      of the Complaint as if the same were set forth herein at length.

   62. The defendants deny the allegations contained in paragraph 62 of Count I of the

      Complaint.

   63. The defendants deny the allegations contained in paragraph 63 of Count I of the

      Complaint.

       COUNT II – SECTION 1981 VIOLATION – RACE DISCRIMMINATION
                      Plaintiff v. All Individual Defendants

   64. The defendant repeats the answers to the allegations contained in previous paragraphs

      and Count of the Complaint as if the same were set forth herein at length.

   65. The defendants deny the allegations contained in paragraph 68 of Count II of the

      Complaint.

   66. The defendants deny the allegations contained in paragraph 66 of Count II of the

      Complaint.

                COUNT III – TITLE VI VIOLATIONS – RETALIATION
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                                  Plaintiff v. All Defendants

   67. The defendant repeats the answers to the allegations contained in previous paragraphs

      and Counts of the Complaint as if the same were set forth herein at length.

   68. The defendants deny the allegations contained in paragraph 68 of Count III of the

      Complaint.

              COUNT IV – SECTION 1981 VIOLATION – RETALIATION
                             Plaintiff v. Defendants

   69. The defendant repeats the answers to the allegations contained in previous paragraphs

      and Counts of the Complaint as if the same were set forth herein at length.

   70. The defendants deny the allegations contained in paragraph 70 of Count IV of the

      Complaint.

   71. The defendants deny the allegations contained in paragraph 71 of Count IV of the

      Complaint.

                        COUNT V – SECTION 1983 VIOLATION
                               Plaintiff v. Defendants

   72. The defendant repeats the answers to the allegations contained in previous paragraphs

      and Counts of the Complaint as if the same were set forth herein at length.

   73. The defendants deny the allegations contained in paragraph 73 of Count V of the

      Complaint.

   74. The defendants deny the allegations contained in paragraph 74 of Count V of the

      Complaint.

   75. The defendants deny the allegations contained in paragraph 75 of Count V of the

      Complaint.
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   76. The defendants deny the allegations contained in paragraph 76 of Count V of the

       Complaint.

   77. The defendants deny the allegations contained in paragraph 77 of Count V of the

       Complaint.

   78. The defendants deny the allegations contained in paragraph 78 of Count V of the

       Complaint.

                                     PRAYER FOR RELIEF

       The defendants deny the allegations contained in the Prayer for Relief section of the

Complaint.

                                    SEPARATE DEFENSES

       1. At the time and place mentioned in the Complaint, these defendants were not guilty of

any negligence which was a proximate cause of the alleged accident, injuries and damages of

which the plaintiff complains.

       2. These defendants violated no legal duty owed to the plaintiff.

       3. The plaintiff was guilty of the sole negligence which was the proximate cause of the

damages complained of.

       4. The alleged damages sustained by the plaintiff are the proximate result of the acts and/or

omissions of parties over which this defendant exercised no control.

       5. The Complaint herein fails to state a claim upon which relief can be granted as to these

defendants, and these defendants reserve the right to move, at or before the time of trial, to dismiss

the Complaint for failure to state a claim upon which relief can be granted.
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        6.    This court lacks jurisdiction over the person of these defendants by reason of

insufficiency of process and reserves the right to move at or before trial for a dismissal of the

Complaint on the ground of lack of jurisdiction because of insufficiency of process and/or service.

        7. This accident resulted from circumstances and conditions beyond the control of these

defendants.

        8. The Complaint is barred by the applicable Statute of Limitations.

        9. The Court lacks personam jurisdiction over these defendants and these defendants

reserves the right to quash service of the Summons and Complaint.

        10. Defendant asserts that plaintiff has failed to mitigate damage.

        11. Plaintiff’s claims must be dismissed as the defendants are not a public entity.

        12. Plaintiff’s claims must be dismissed as respondeat superior is not applicable to the

plaintiff’s claim.

        13. Plaintiff’s Complaint must be dismissed for failing to provide facts supporting

deliberate indifference concerning the plaintiff’s treatment.

        14. Plaintiff’s claim must be dismissed for failing to exhaust his administrative remedies.




                               DEMAND FOR TRIAL BY JURY

        This defendant hereby demands a trial by jury as to all issues so triable.
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DATED: January 25, 2018                  REARDON ANDERSON, LLC
                                         Attorney for Defendants, The Atlantic
                                         Amateur Hockey Association, Atlantic
                                         District Player Development Program, John
                                         Riley and Colleen Marinari


                                      BY:___/s/ Thomas M. Reardon___________
                                            THOMAS M. REARDON III
